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                   IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH

IHC HEALTH SERVICES, INC.,                       INTERMOUNTAIN’S
a non-profit Utah corporation,               OPPOSITION TO MOTION FOR
       Plaintiff,                               PARTIAL DISMISSAL
vs.                                           Civil No. 2:17-cv-01245-JNP-EJF
ELAP SERVICES, LLC,
                                                     Judge Jill N. Parrish
a limited-liability company,
       Defendant.                              Magistrate Judge Evelyn J. Furse




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        Plaintiff IHC Health Services, Inc. (“Intermountain”) submits this

Opposition to ELAP Services, LLC (“ELAP”)’s Partial Motion to Dismiss

(“Motion”), ECF No. 35.

                                 INTRODUCTION

        After receiving the Court’s prior Memorandum Decision and Order

(“Order”), ECF No. 29, Intermountain made substantial revisions to its allegations

before filing its Second Amended Complaint, (“SAMC” or “Complaint”), ECF No.

33. In the SAMC, Intermountain elected to forego the injurious falsehood claim;

added the unjust enrichment claim; and addressed the Court’s concerns regarding

the sufficiency of the allegations establishing the fraud, negligent

misrepresentation, and declaratory judgment claims. Nevertheless, ELAP chose to

drag out the pleading stage with a new motion to dismiss that makes arguments

that the SAMC plainly resolves. As shown herein, Intermountain alleges all

requisite facts upon which relief may be granted and ELAP’s motion should be

denied.

                    RESPONSE TO ELAP’S FACTUAL ALLEGATIONS

        Intermountain’s Complaint seeks relief from injuries resulting from ELAP’s

unlawful business model, which encourages employers to create self-funded

welfare benefit plans (“Plans”) to provide health care benefits for Plan members


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(“Members”), with ELAP deciding payment amounts as the Plans’ fiduciary.

SAMC ¶¶ 8, 22–29, 39. ELAP holds itself out as having a unique expertise in

determining what health care providers should charge and tells Plans and Members

not to pay anything beyond what ELAP determines should be paid. Id. ¶¶ 33, 92.

Promising big savings, ELAP tells Members it can seek care from any health care

provider and Intermountain will accept that amount. Id. ¶¶ 8, 38, 64. Thus,

Members routinely seek health care from Intermountain. Id. ¶¶ 23–25, 29. While

ELAP knows that Members are required to execute Patient Agreements obligating

them to pay Intermountain’s charges as a condition of admission, ELAP’s model

disregards provider charges entirely. Id. Thus, the Patient Agreements are

executed without any intention by ELAP, Plans, or Members to perform as agreed.

Id. ¶¶ 33, 72–77. Rather, Members seek facility admission based on ELAP’s

assurances that they can go to “any provider,” which are repeated to Intermountain

through a false promise to pay. Id. ELAP makes money based on how much less

Plans pay relative to Intermountain’s charges. Id. ¶¶ 23, 56.

        ELAP’s cursory “Factual Allegations” section misstates and oversimplifies

Intermountain’s Complaint, ignoring the detailed facts pled. ELAP tries to re-cast

Intermountain’s allegations in a light favorable to ELAP. For example, ELAP says

that it “provides . . . cost containment services” to Plans. Motion 6 (citing SAMC

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¶ 20). The relevant portion of paragraph 20 says, “ELAP markets itself as an

innovative way to reduce health care costs for employers by representing that

significant discounts can be realized without a contracted pricing agreement.”

SAMC ¶ 20. Nothing actually says ELAP provides “cost containment services.”

Id. Similarly, there is nothing in the Complaint saying that ELAP “can help

[companies] save money.” Compare Motion 6, with SAMC ¶¶ 20, 23, 29.

        It is unnecessary to correct ELAP’s mischaracterizations line-by-line. The

Court must rely on the Complaint and its attached exhibits, not ELAP’s marketing

spin. Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081, 1105

(10th Cir. 2017). The text of the Complaint controls and all reasonable inferences

are to be made in Intermountain’s favor. Id.

                                   ARGUMENT

I.      INTERMOUNTAIN’S FRAUD CLAIM IS WELL-PLED.

        Intermountain’s Complaint alleges that ELAP is directly responsible for the

false promises that Members make to pay Intermountain’s bill without any intent

to do so and that Intermountain relies on those promises to its detriment. SAMC

¶¶ 63–89. Utah has “long recognized” entering into an agreement “accompanied

by the present intention not to perform it” is actionable fraud. Cerritos Trucking

Co. v. Utah Venture No. 1, 645 P.2d 608, 611 (Utah 1982).


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        A.          Intermountain has relied on ELAP’s misrepresentations.

        Intermountain’s Complaint alleges reliance on multiple fraudulent and

misleading statements attributable to ELAP. E.g., SAMC ¶¶ 64–66, 72–75. ELAP

does not contest that these allegations constitute fraudulent statements. Instead,

ELAP tries to dodge liability by claiming that its fraudulent statements were not

repeated directly to Intermountain. Motion 14. ELAP’s narrow construction of

Intermountain’s fraud claim is inapposite.

        1.          The Members’ false promises in Patient Agreements are
                    directly attributable to ELAP.

        A fraudulent misrepresentation claim requires reliance on the defendant’s

false statement. Carlton v. Brown, 2014 UT 6, ¶ 37, 323 P.3d 571. However, as

this Court recognized, “a false representation does not necessarily have to be made

directly to the plaintiff.” Order 15. A defendant may be “liable if the

misrepresentation, ‘although not made directly to the other,’ is ‘made to a third

person and the maker intends or has reason to expect that its terms will be repeated

or its substance communicated to the other, and that it will influence his conduct




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in the transaction.’” Order 15, n.8 (emphases added) (quoting Restatement

(Second) of Torts § 533 (1977)).1

        While Intermountain does not allege reliance on the verbatim repetition of

the statements ELAP made to its Members, Intermountain relies on false promises

made in Patient Agreements that precisely express the effect ELAP intended its

misrepresentations to have, which is to induce Intermountain to provide health care

to ELAP Members without any intention to pay on Intermountain’s terms. SAMC

¶¶ 64–73. Thus, ELAP is liable because it knew the “substance” of its false

representations to Plans and Members would be repeated to Intermountain and that

these misrepresentations would “influence” Intermountain’s conduct by inducing

Intermountain to admit Members based on promises ELAP knew were false.

Restatement (Second) of Torts § 533; SAMC ¶¶ 64–73.

        Among other misrepresentations, ELAP tells Plans and Members they can

go to “any provider;” that providers accept what ELAP determines should be paid

as payment in full; and that Members will not be responsible for anything more.

1
  Ellis v. Hale, 373 P.2d 382, 385 (Utah 1962) (“If a person fraudulently makes a
misrepresentation . . . to another with the intent that it will be transmitted to a third
person, the latter may have a cause of action against the misrepresentor.”);
Russell/Packard Dev., Inc. v. Carson, 2003 UT App 316, ¶ 29 n.12, 78 P.3d 616
(citing section 533 in establishing that fraud liability may exist even if the
representation is “not made directly to the other”).


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SAMC ¶¶ 64–66. ELAP’s statement that Members can go to “any provider” is

inseparable from, and cannot be reconciled with, ELAP’s knowledge that

Intermountain requires patients to execute Patient Agreements that include a

promise to pay all Intermountain’s charges. Id. ¶¶ 64, 71–72. Thus, when

Members sign Patient Agreements containing a promise to pay Intermountain’s

charges, Members are communicating to Intermountain the “substance” of ELAP’s

misrepresentations that they can go to “any provider” and pay only what ELAP

determines. Id. ¶ 64. Indeed, Members’ repeated efforts to obtain health care from

Intermountain, notwithstanding ELAP’s lack of a preferred-provider agreement

with Intermountain, demonstrates that Members renew their communication of

ELAP’s misrepresentations every time they execute a Patient Agreement. Id.

¶¶ 16–18, 20, 47–48, 64, 68. Accordingly, as a result of “induc[ing] Plan members

to seek health care” based on “false representations,” ELAP causes “the execution

of Patient Agreements and other representations to Intermountain that ELAP

knows will never be kept.” Id. ¶ 73.

        2.          The Members’ false promises in Patient Agreements are
                    directly attributable to ELAP under agency law.

        ELAP’s liability can also be understood applying agency principles, wherein

Plan Members act as agents advancing ELAP’s fraud. Garland v. Fleischmann,

831 P.2d 107, 110 (Utah 1992) (“It is well established . . . that a principal is liable
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for the acts of his agent within the scope of the agent’s authority, irrespective of

whether the principal is disclosed or undisclosed. The fact that an agent acts in his

own name without disclosing his principal does not preclude liability on the part of

the principal when he is discovered to be such by a third party who has dealt with

the agent.”).

        The elements of an agency relationship include “(1) the principal must

manifest its intent that the agent act on its behalf, (2) the agent must consent to so

act, and (3) both parties must understand that the agent is subject to the principal’s

control.” Sutton v. Miles, 2014 UT App 197, ¶ 10, 333 P.3d 1279. An agency

relationship may arise from the principal’s “informal, implicit, and nonspecific”

assent and “a person may be an agent although the principal lacks the right to

control the full range of the agent’s activities . . . .” Restatement (Third) of

Agency § 1.01 cmt. c, d. Accordingly, “aspects of an overall relationship may

constitute agency and entail its legal consequences while other aspects do not.” Id.

§ 1.01 cmt. b.2



2
 Here, the scope of the agency relationship includes Members making false
promises at ELAP’s behest because ELAP knows these false promises are essential
for Members to receive care and for ELAP to get paid for telling Plans not to pay
Intermountain’s full bill.


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        Each element is present here. First, ELAP manifests its intent that Members

act on its behalf in seeking health care deceptively for ELAP’s benefit. Indeed,

“[t]he false promises in the Patient Agreement are the direct result of ELAP’s

conduct and are made at ELAP’s direction.” SAMC ¶ 73 (emphasis added).

Further, ELAP employs Members as “instrumentalities in a fraudulent scheme

calculated to induce Intermountain to provide” health care from which ELAP

profits. Id. ¶ 74 (emphasis added). ELAP knows that Members seeking health

care from Intermountain must “represent that they will pay for all health care

services rendered” and ELAP “encourages [M]embers to make this representation

to Intermountain as the essential step necessary to enable the patient to receive

health care services and thus initiate the transactions . . . from which ELAP is

paid.” Id. ¶ 72 (emphasis added). Moreover, ELAP encourages the display of

deceptive membership cards that omit and conceal any reference to ELAP to “give

the false appearance of third-party financial responsibility to pay for health care

services.” Id. ¶ 75.

        Second, the agent’s consent to act, is also present. It is not necessary to

show that “the agent manifest assent to the principal.” Restatement (Third) of

Agency § 1.01, cmts. a, d (emphasis added). Rather, it is enough that ‘[i]f the

putative agent does the requested act, it is appropriate to infer that the action was

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taken as agent for the person who requested the action.” Id. § 1.01 cmt. c. Here,

ELAP tells Members to go to any provider and that they are not responsible for

anything beyond what ELAP determines should be paid. SAMC ¶¶ 65, 66. ELAP

encourages Members to disregard Patient Agreements (id. ¶ 65) and instructs

Members “not to pay their bills and to submit any” claims to ELAP. Order 10

(citing ¶ 41, renumbered as SAMC ¶ 37, and Exhibit B to SAMC). The Complaint

alleges that Members do all these things. SAMC ¶¶ 40–42, 76–79, 86–89. Thus,

while the Members’ “consent to act” may not include vocally approving ELAP’s

fraud, it is sufficient that the Members actually do what ELAP directs to establish

that Members act as ELAP’s agents.

        Third, ELAP and Members “understand that the agent is subject to the

principal’s control.” Sutton, 2014 UT App 197, ¶ 10. ELAP acts as the Plans’

“Dedicated Decision Maker” in determining what Plans should pay. SAMC ¶¶ 25,

97. Moreover, ELAP’s marketing materials establish that ELAP assumes a role as

principal in directing the acts of Plans and their Members as agents. To further its

unlawful business model, ELAP tells prospective clients:

               A self-funded health plan [designed by ELAP] is the
          perfect agent to effect change and seize control of spending. What
          a plan sponsor must do is embrace this simple solution, which is to
          move toward paying for medical goods and services in the same
          manner that the corporation buys everything else—with

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          transparency, with upfront knowledge of the cost. ELAP is here to
          lead and assist.

Id. ¶ 66 Ex. C, at 2 (emphases added). ELAP’s marketing emphasizes its role as

principal by underscoring that promised discounts can be obtained only by

following ELAP’s blueprint. Id. (“ELAP’s solution hinges upon the executive

leadership at any given company being willing to see the problem and address it.”).

Of course, by “address[ing]” the “problem,” what ELAP really means is sending

patients to health care providers with the intent not to pay as agreed. Id. ¶¶ 56, 81,

97. To wit, ELAP tells employers, “If you are tired of waiting on industry,

government, or erstwhile outside help, then ponder heeding the words of Dr. James

Robinson . . . ‘The only way to pay less for health care—is to pay less for health

care.’” Id. ¶¶ 22, 66 Ex. C, at 5 (emphasis added). Thus, rather than encourage

Plans to negotiate preferred-provider, or discount, agreements or encourage

Members to adhere to their contracts with health care providers, ELAP instructs

Plans and Members to disregard provider charges altogether. Instead, ELAP exerts

control and substitutes its payment formula as “the basis of claims coverage and

payment by the plan.” Id. ¶ 66 Ex. C, at 6 (emphasis added). Making this scheme

work requires Members to obtain health care using false promises to pay while

concealing ELAP’s involvement. Id. ¶¶ 38–43, 97.


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        The control ELAP exerts over Members is further evidenced by ELAP’s

ratification of the false representations after Members receive Intermountain’s

health care. Restatement (Third) of Agency § 1.01 cmt. c (“[A] person may,

through ratification, create the consequences of actual authority with respect to an

actor’s prior act.”). Among other things, in its role as a Plans’ “Dedicated

Decision Maker,” ELAP asserts plenary control over what payments are made.

SAMC ¶¶ 78, 97. ELAP does so with the knowledge and expectation that

Members will obtain health care without the intention to pay. Id. ¶ 78.

Specifically, after Members receive care, ELAP proceeds to “audit”

Intermountain’s bills, directs Plans to make deficient payments, advises Members

not to pay their bills, defends Members against any effort to collect unpaid bills,

and ELAP gets compensated more when Intermountain gets paid less. Id. ¶¶ 76–

79, 97. Thus, the Members’ false promises to pay are, in fact, a manifestation of

ELAP’s deployment of Members as agents for its own gain. Indeed, ELAP knows

it would have no services to offer—and thus no way to make money—absent

Members obtaining health care based on false promises to pay. The fact that

ELAP’s post-services conduct is calculated to insulate the Plan and Members from

the consequences of making false promises to Intermountain demonstrates



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premeditated knowledge and ratification of the agency relationship and the

accompanying fraud.3 SAMC ¶¶ 27, 69–70, 97.

        3.          ELAP’s liability does not require a “direct” representation to
                    Intermountain.

        ELAP’s fraud liability is analogous to conduct other courts have found to be

within the scope of section 533 of the Restatement (Second) of Torts. For

example, “one of the situations” to which section 533 applies includes

“misrepresentations to a credit-rating company for the purpose of obtaining credit

from a third party.” See In re Kukuk, 225 B.R. 778, 785 (B.A.P. 10th Cir. 1998)

(quoting Restatement (2d) Torts § 533 cmt. f). “[T]he maker (of the

misrepresentation) is liable to any person who may be expected to and does extend

credit to him in reliance upon the erroneous rating so procured.” Restatement

(Second) of Torts § 533 cmt. f. Moreover, it is “immaterial” that the rating

company does not communicate the original false representations. Id. Rather, “it

is enough that their substance is summarized . . . or that the rating given expresses


3
  Cf. Mun. Bldg. Auth. v. Lowder, 711 P.2d 273, 279 (Utah 1985) (holding that a
principal’s liability for an agent’s acts based on apparent authority is “implied
where the principal has permitted the agent to mislead third parties into extending
credit to the agent in reliance on the principal’s credit or has otherwise ratified the
agent’s actions.” (quoting Restatement (Second) of Agency §§ 26, 27 (1958)
(emphasis added)).


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the effect of the misstatements made.” Id. (emphasis added). This principle has

been applied in several contexts outside credit-rating.4

        While some factual differences exist between the present case and the credit-

rating scenario, the underlying legal principle applies equally. Like the defrauded

seller who is misled into extending credit based on misrepresentations to a

credit-rating agency (but not the seller directly), Intermountain is misled into

providing health care “on credit” to Members. Intermountain does so based on

Members’ false promises to pay, which “express[] the effect” of ELAP’s

misrepresentations. Ojibwe Indians, 2012 WL 5439170, at *7 (citing Restatement

(Second) of Torts § 533 cmt f). In both the credit-rating cases and the present case,

the maker of the fraudulent representation is liable for the reliance it knowingly


4
  E.g., Hoffman v. Stamper, 867 A.2d 276, 292 n.12 (Md. 2005) (holding that
appraiser who knowingly prepared inflated property appraisals could be liable for
fraudulent misrepresentation to purchasers and recognizing that even though the
purchasers were not given the appraisals, they relied upon documents assuring
them that the properties’ values at least matched the appraisals); Hynix
Semiconductor, Inc. v. Rambus, Inc., 2007 WL 4209399, at *8–9 (N.D. Cal. Nov.
26, 2007) (rejecting argument that plaintiffs must have heard certain half-truths
“directly” from defendant where plaintiffs relied indirectly on “certifications”
issued by the standards-setting agency); Corp. Comm’n of Mille Lacs Band of
Ojibwe Indians v. Money Ctrs. of Am., Inc., 2012 WL 5439170, at *7 (D. Minn.
Nov. 7, 2012) (holding under section 533 where defendant “would not have
received a vendor license but for its misrepresentations,” the license itself
“expresses the effect of the misstatements made.”).


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and intentionally induces, even if the original representations are not made directly

to the defrauded party.5 Stated simply, the Patient Agreement itself “expresses the

effect of the misstatements made” and ELAP is liable for Intermountain’s reliance

on such misstatements. Ojibwe Indians, 2012 WL 5439170, at *7.6

        B.          Intermountain pled fraud with particularity.

        When alleging fraud, “a party must state with particularity the circumstances

constituting fraud.” Fed. R. Civ. P. 9(b). In addressing ELAP’s prior motion, the


5
  For these reasons, ELAP’s claim that Intermountain “would not have relied on”
ELAP’s statements “if they had been made or repeated to IHC” lacks merit. See
Motion 15. While Intermountain does not allege reliance on the verbatim
repetition of ELAP’s statements to its Members, Intermountain has relied on
Members’ representations that precisely express the effect ELAP intended its own
misrepresentations to have. SAMC ¶¶ 64–73.
6
  In addition, Intermountain previously (in its opposition to ELAP’s first motion to
dismiss) identified authorities establishing that fraud liability does not depend on
an injured party receiving the verbatim repetition of the original fraudulent
representation. Opp’n Mem. 16–18, ECF No. 11 (citing Comm. on Children’s
Telev’n, Inc. v. Gen. Foods Corp., 673 P.2d 660, 674 (Cal. 1983) (holding that
“[r]epetition” is not a “prerequisite to liability” and that “it should be sufficient that
defendant makes a misrepresentation to one group intending to influence the
behavior of the ultimate purchaser, and that he succeeds in this plan.”); Learjet
Corp. v. Spenlinhauer, 901 F.2d 198 (1st Cir. 1990) (holding seller of aircraft
liable for purchaser’s reliance on seller’s falsely-procured FAA certification, even
though seller’s misrepresentations were made to the FAA and not the purchaser)).
Because the Court’s prior Order did not directly address these and similar
persuasive authorities (see Opp’n Mem. 16 n.2), which concern whether direct
misstatements are necessary, Intermountain again references them here.


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Court observed that a “relaxed standard” may apply where, as here, the “essential

information about the misrepresentations is in the defendant’s exclusive

possession” and ELAP intentionally seeks to obscure the identities of Members.

Order 17; Opp’n Mem. 3–4. Nevertheless, the Court concluded Intermountain still

must allege “at least some specifics of the fraudulent misrepresentations” to satisfy

Rule 9(b). Order 17.

        The Complaint’s additional allegations cure any prior deficiency. SAMC

¶¶ 64–89. Nevertheless, ELAP claims Intermountain never pled the “time, place,

or [the person’s] identity” relating to ELAP’s false statements. Motion 18. This is

false. Intermountain pled that ELAP made false representations directly to

Intermountain through Members and indirectly through Members expressing the

effect of ELAP’s misrepresentations. SAMC ¶¶ 64–75. While the time, place, and

manner of ELAP’s misrepresentations to Members are not yet identified,

Intermountain has alleged twenty-four instances between 2016 and 2018 where

Members executed Patient Agreements containing false promises that ELAP

induced. Id. ¶ 86 n.2.7 Thus, with respect to these misrepresentations,


7
  Intermountain refrains from identifying patient names and other protected health
information, yet Intermountain offered more under a HIPAA-compliant protective
order. Id. ¶ 86 n.2. Also, ELAP could easily identify the Members’ identities
based on its own records.

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Intermountain has alleged the time (at least 2016–2018), place (Intermountain

facilities), and identity of those making the false statements (ELAP, including

through Members).

        ELAP claims Intermountain has not identified the “content of the fraudulent

statements,” which Members made at ELAP’s behest. This is also untrue. The

Complaint identifies specific terms in the Patient Agreements where Members

“represent . . . they will pay,” including “any and all amounts the Facility . . .

determines to be owed for health care . . . .” Id. ¶ 77. Additionally, the Complaint

identifies the fraudulent statements such as the presentation of membership cards

that give the appearance of third-party financial responsibility and conceals

ELAP’s involvement and the lack of intention to pay. Id. ¶¶ 75, 78.

II.     INTERMOUNTAIN’S NEGLIGENT MISREPRESENTATION
        CLAIM IS WELL-PLED.

        A negligent misrepresentation claim allows “a party injured by reasonable

reliance upon a second party’s careless or negligent misrepresentation of a material

fact” to recover damages when: (1) the second party had a pecuniary interest in the

transaction; (2) was in a superior position to know the material facts; and

(3) should have reasonably foreseen that the injured party was likely to rely upon

the fact. Price-Orem Inv. Co. v. Rollins, Brown & Gunnell, Inc., 713 P.2d 55, 59

(Utah 1986).
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       Recognizing the Complaint’s sufficiency, ELAP does not challenge the

foregoing elements. Instead, ELAP asserts that the negligent misrepresentation

claim fails for the same reasons as the fraud claim, i.e., Intermountain did not plead

with particularity or rely on ELAP’s misrepresentations. Motion 20. ELAP’s

recycled argument offers no new contentions specific to the negligent

misrepresentation claim. Accordingly, the discussion above concerning ELAP’s

actionable misrepresentations, and Intermountain’s reliance thereon (which are

alleged with particularity), apply equally to negligent misrepresentation.8 SAMC

¶¶ 90, 94–95, 101.

      ELAP also claims Intermountain failed to allege a “special duty” running

from ELAP to Intermountain. Motion 19, 21 (citing Ellis, 373 P.2d at 384–85).

Assuming a “special duty” is a required element,9 Intermountain has alleged that


8
  Contrary to ELAP’s assertion, a plaintiff need not prove all the elements of fraud
to establish negligent misrepresentation. Price–Orem, 713 P.2d at 59 n.2.
(“Although the cause of action for negligent misrepresentation grew out of
common law fraud, the elements of fraud need not be independently established.”);
Robinson v. Tripco Inv., Inc., 2000 UT App 200, ¶ 13, 21 P.3d 219 (same).
9
  While Ellis references a “special duty,” 373 P.2d at 384–85, there is little
elaboration in any case describing what is required, if anything. A Westlaw search
of the headnote in Ellis referencing a “special duty” yields three results: (1) Smith
v. Frandsen, 2004 UT 44, ¶ 9 n.3, 94 P.3d 919 (referencing Ellis only for
“statutory obligations” and not discussing or mentioning “special duty”); (2) Hafen
v. Strebeck, 338 F. Supp. 2d 1257, 1265 (D. Utah 2004) (referencing a general
                                                                       (continued . . .)
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ELAP shoulders such a duty, which “arises from its knowledge that” Members

specifically seek Intermountain’s health care “based on ELAP’s representations.”

SAMC ¶ 91. ELAP also claims Intermountain has not pled that ELAP has “any

sort of special expertise or competence on which IHC relied.” Motion 21. In fact,

Intermountain pled that ELAP holds itself out as “possessing unique or special

expertise with respect to what a facility should charge for health care services and

what facilities will accept as payment in full for providing those services” and does

so to “reassure and encourage” Members “in seeking and receiving health care”

from “Intermountain without regard to, or concern for, the obligation to pay”

Intermountain “as set forth in the Patient Agreement.” SAMC ¶¶ 92–93. In other

words, ELAP’s business depends on convincing Plans and Members that it knows

best what a hospital should charge and that it has the unique expertise to determine

what must be paid and what should be ignored. Id. ¶ 66 Ex. C (ELAP

representing, “[W]hat a plan sponsor must do is embrace” ELAP’s ‘simple’

solution wherein ELAP’s payment formula replaces facility charges as “the basis

of . . . payment”). That “special expertise,” which convinces Plans and Members

to believe that ELAP can somehow supersede their obligations under the Patient

“duty” requirement and Ellis for “statutory obligations”); and (3) this Court’s prior
Order, ECF No. 29.


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Agreement (id. ¶ 72), is manifest to Intermountain every time a Member signs a

Patient Agreement “without regard to, or concern for” the actual payment

obligations. Id. ¶¶ 93, 96. 10

III.    ELAP HAS BEEN UNJUSTLY ENRICHED.

        Utah recognizes unjust enrichment as a viable cause of action to recover a

benefit unjustly received by another. Emergency Physicians Integrated Care

[“EPIC”] v. Salt Lake Cty., 2007 UT 72, ¶ 11, 167 P.3d 1080 (citing cases). To

prove unjust enrichment, claimants must show: “(1) [T]he defendant received a

benefit; (2) an appreciation or knowledge by the defendant of the benefit; (3) under

circumstances that would make it unjust for the defendant to retain the benefit


10
   ELAP further contends no “special duty” exists where the parties deal at arm’s
length and “the plaintiff could have easily cleared up any confusion with a simple
question.” Motion 19 (quoting Ellis, 372 P.2d at 385). However, the law
presumes parties execute contracts with an intent to perform as agreed and
Intermountain is justified in relying on patients’ execution of the Patient
Agreement as a representation of their intent to pay without parol questioning.
Cerritos Trucking, 645 P.2d at 611 (“[O]ne who promises another to do something
in the future as a condition or inducement to him to do anything, impliedly asserts
a present intent to carry out his promise.”). Nothing requires questioning millions
of patients to determine if they are among the small subset of ELAP Plan Members
and if they or their Plans really intend to pay. ELAP’s intentional concealment of
its involvement with its own Members also demonstrates that questioning patients
is unlikely to yield useful answers. SAMC ¶¶ 34, 40, 75, 84, 99 (highlighting
ELAP’s concealment efforts). Nevertheless, the Court can make no inference in
ELAP’s favor on this point, only in Intermountain’s.


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without paying for it.” Id. (quoting Davies v. Olson, 746 P.2d 264, 269 (Utah Ct.

App. 1987)); U.S. Fid. & Gaur. Co. v. U.S. Sports Specialty, 2012 UT 3, ¶ 12, 270

P.3d 464.11

        Notably, ELAP misstates the governing law in characterizing at least the

first element of unjust enrichment by stating that a claimant must allege

“it conferred a benefit on the defendant . . . .” Motion 9 (emphasis added) (citing

U.S. Fid., 2012 UT 3). In fact, the issue is not whether the claimant conferred a

benefit on the defendant, but instead whether “a benefit [was] conferred on one

person by another.” Rawlings v. Rawlings, 2010 UT 52, ¶ 29, 240 P.3d 754

(emphasis added). Less significant than who conveyed the benefit is whether a

benefit was, in fact, received by the defendant. Id.

        A.          ELAP has received a sufficient benefit.

        The Utah Supreme Court’s decision in EPIC resolves ELAP’s attempt to re-

write caselaw to require a direct conferral of a benefit on the defendant. In EPIC,


11
   The Utah Supreme Court has also recognized that unjust enrichment and
restitution are flexible doctrines not susceptible to rigid formulas: “It is . . . a
flexible, equitable remedy available whenever the court finds that the defendant,
upon the circumstances of the case, is obliged by the ties of natural justice and
equity to make compensation for benefits received.” Jeffs v. Stubbs, 9770 P.2d
1234, 1245 (Utah 1998) (quoting Murdock-Bryant Const., Inc. v. Pearson, 703
P.2d 1197, 1202 (Ariz. 1985) (in banc)).


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the plaintiff was a health care provider who sought to recover payment from Salt

Lake County for the care EPIC provided to inmates in the County’s detention

facility. 2007 UT 72, ¶ 1. The County argued that “any benefit [the County had

received] was merely incidental” and that the inmate rather than the County was

the one who received the benefit conferred by the health care provider. Id. ¶ 24.

The Utah Supreme Court rejected this argument: “We acknowledge that EPIC

provided a physical benefit to the treated inmates, but the County also benefited

from EPIC’s service.” Id. ¶ 27. The County’s benefit was “sufficient to establish

the first prong of a quantum meruit [or unjust enrichment] claim.” Id. Thus, EPIC

demonstrates that health care rendered to a patient can form the basis for an unjust

enrichment claim if the care also benefited a third party, i.e., ELAP.

        Ignoring EPIC, ELAP relies on Baugh v. Darley, 184 P.2d 335 (Utah 1947).

Baugh involved a plaintiff real-estate investor who attempted to purchase and

immediately flip land at a profit. Id. at 336. The court held that there was no

unjust enrichment because the plaintiff acted “for his own advantage” or “benefit”

when he sought to flip the land and that any benefit the landowner may have

received was too incidental. Id. at 336, 337–38. The court recognized that the

“[d]efendant received no benefit. Had he received a benefit, the law would imply

an obligation to pay therefor.” Id. at 338.

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        Here, when Intermountain cares for its patients, it does not do so

gratuitously, officiously, or “for [its] own advantage” as if trying to flip property at

a profit. Instead, ELAP interferes with the economic transaction between

Intermountain and its patients and receives a portion of the benefit the Plan or

Member would have otherwise paid Intermountain. Id. ¶¶ 56–58. Thus, “ELAP

receives direct financial benefits from these transactions . . . .” Id. ¶ 57. It

“benefits each time an ELAP-affiliated Plan underpays,” and ELAP “is

compensated . . . on a percentage fee tied to Intermountain’s charges.” Id. ¶ 56.

Also, although the Court need not go any further than the Complaint’s allegations,

ELAP suggests the benefit it receives is pursuant to a contract between ELAP and

ELAP’s customers. Motion 10–11. This corroborates the allegations that ELAP

acts as a principal and receives a direct benefit and the charges ELAP instructs

Plans and Members not to pay.12


12
  ELAP erroneously states that contractual obligations cannot be the basis for an
unjust enrichment claim and cites U.S. Fidelity. Motion 11. U.S. Fidelity holds
only that when a contract exists between a claimant and defendant, then it
precludes the equity-based claim. 2012 UT 3, ¶ 11. The contract here is between
the Plans and ELAP, not Intermountain and ELAP. Thus, U.S. Fidelity is
inapposite. Also, neither EPIC, Baugh, nor Desert Miriah, Inc. v. B & L Auto,
Inc., 2000 UT 83, 12 P.3d 580 (discussed below) conclude that a legal or
contractual duty between beneficiaries interferes with a third-party’s unjust
enrichment claim.


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        The other case ELAP cites, Desert Miriah, similarly supports Intermountain.

2000 UT 83. Desert Miriah (a plaintiff defending a counterclaim of unjust

enrichment) had received a benefit when the party claiming unjust enrichment

loaned Desert Miriah’s president, as an individual, money that would be used to

pay back Desert Miriah’s loan. Id. ¶¶ 5, 14. Desert Miriah argued that its

president was the sole beneficiary of the loan, not the entity. However, the court

held that Desert Miriah had also received a sufficient benefit from the transaction

to satisfy the first and second elements of the unjust enrichment claim. Id. ¶ 14.

This holding, as in EPIC, underscores that ELAP benefits from its scheme of

diverting Plan resources from Intermountain to itself.

        Here, ELAP entices Members to obtain health care from Intermountain

believing that they are entitled to a discount while arming them with membership

cards that conceal ELAP’s role. SAMC ¶¶ 20–22, 33, 75, 79, 85, 99. ELAP does

so intentionally, knowing that the Members will sign Patient Agreements. Id.

¶¶ 22–24, 31, 36. ELAP has no intention of directing the Plans to pay for the

billed charges to which the Members agreed. Id. ¶¶ 8, 30, 36. And ELAP benefits

from the entire scheme by collecting a portion of the money the Plans do not pay.

Id. ¶¶ 56–60. The arrangement is unjust and Intermountain is entitled to recover

the portion ELAP receives. Id. ¶¶ 58–62.

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        B.          ELAP appreciates or knows that Members seek health care from
                    Intermountain.

        The second element of unjust enrichment requires the plaintiff to allege “an

appreciation or knowledge by the defendant of the benefit.” EPIC, 2007 UT 72,

¶ 11. Citing Desert Miriah, ELAP contends a defendant must have had this

knowledge at the time the benefit was provided. While Desert Miriah mentions

that the party who received the benefit appreciated and knew of the benefit at the

time it was conferred, the court does not hold that the particular timing of the

knowledge is necessary or dispositive. 2000 UT 83, ¶ 15. If timing were relevant,

courts would include this temporal limitation in the common three-element test.

        Even if there were a requirement that the conferee appreciated and knew of

the benefit at the exact moment it was conferred, Intermountain’s claim still

survives because “ELAP appreciates and knows . . . how much it benefits from

each Intermountain bill it decides the Plan will not pay in full.” SAMC ¶ 59.

ELAP knows it is not entitled to a contractual discount. Id. ¶¶ 20–23. ELAP

“purposefully, willfully, intentionally and knowingly encourages Plan members—

either directly or indirectly—to obtain services and enter into Patient Agreements

with Intermountain, knowing that the patients will not pay, as agreed.” Id. ¶ 30.

ELAP “knowingly and deceptively encourages Plan members to seek and receive

care . . . by falsely inducing Intermountain to believe that patients will actually
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pay.” Id. ¶ 33. Also, as mentioned above, ELAP’s Motion announces that it

receives a “contractual payment” from the Plans that results from underpaying

Intermountain. Motion 11. When ELAP receives the benefit from the Plans,

ELAP certainly appreciates that its money comes from Intermountain caring for its

Plan’s Members and ELAP instructing Plans to underpay Intermountain. SAMC

¶¶ 59–60.

IV.     DECLATORY RELIEF IS APPROPRIATE UNDER INTENTIONAL
        INTERFERENCE AND THE OTHER CLAIMS.

        The availability of declaratory relief depends on the existence of an

independent remediable substantive right. Long v. Wells Fargo Bank, N.A., 670 F.

App’x 670, 671 (10th Cir. 2016). ELAP argues that if the Court were to dismiss

the claims for unjust enrichment, fraud, and negligent misrepresentation, then the

declaratory relief should be dismissed as well. Motion 23. However, the claim for

intentional interference with economic relations has already survived ELAP’s prior

motion to dismiss, and it alone can provide the predicate foundation for declaratory

relief. ELAP does not argue otherwise in its current Motion.

        Intermountain needs declaratory relief to ensure that ELAP stops injuring

Intermountain after this lawsuit. Also, even if other relief were available, that

“does not preclude a declaratory judgment that is otherwise appropriate.” Fed R.

Civ. P. 57; see also id. at R. 18(a)–(b). Furthermore, nothing in Intermountain’s
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proposed declaratory relief affects a patient’s right to seek admission to

Intermountain’s hospitals.

        ELAP alternatively argues that there is no standing for the declaratory relief,

but attacks only the “injury in fact” element as it relates to ELAP’s misstatements.

Motion 24. ELAP has not challenged standing as it relates to unjust enrichment.

Id.

        Standing requires showing, inter alia, one “has suffered an ‘injury in fact’

that is (a) concrete and particularized, and (b) actual or imminent, not conjectural

or hypothetical.” Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004).

If seeking “prospective relief, the plaintiff must be suffering a continuing injury or

be under a real and immediate threat of being injured in the future.” Id. “Past

wrongs are evidence bearing on whether there is a real and immediate threat of

repeated injury.” Id.

        Intermountain is required only to plead plausible facts that show it is

suffering a continuing injury related to the fraud and negligent misrepresentation

claims. As discussed above, Intermountain has done so. See supra Section I. “To

this day, ELAP is continuing to direct patients to Intermountain . . . .” SAMC ¶ 40.

Also, “Defendant’s actions have otherwise injured, continue to injure, and will

injure Intermountain . . . .” Id. ¶¶ 89 (Fraud), 102 (Negligent Misrepresentation).

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Intermountain has pled facts and provided documentary evidence of ELAP’s past

statements including a history of ELAP performing its unlawful scheme resulting

in injury to Intermountain. Id. ¶¶ 42, 66, Exs. A, B, C. ELAP’s past actions

increase the likelihood of it repeating them in the future.

        Furthermore, this Court has held that Intermountain’s allegations in its

original Complaint established that Intermountain “is sustaining and will continue

to sustain injury from ELAP’s alleged interference with economic relations.”

Order 21. “Indeed, ELAP has given no indication it intends to halt the alleged

harmful activity.” Id. While these holdings relate to intentional interference, the

foundations of that holding apply equally to the other causes of action.

                                   CONCLUSION

        For the above reasons, the Court should deny ELAP’s Motion in its entirety.

        RESPECTFULLY SUBMITTED, this 30th day of November 2018.

                           MANNING CURTIS BRADSHAW & BEDNAR PLLC


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block, certificate of service, exhibits, and this certification. There are 6,270 words
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                                        /s/ Chad R. Derum




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                          CERTIFICATE OF SERVICE

      I hereby certify that I will cause a true and correct copy of the foregoing to
be served in the method indicated below to the below-named parties on
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